                                                       Judge: Timothy W. Dore
                                                       Chapter: 13
                                                       Hearing Date: December 06, 2017
                                                       Hearing Time: 9:30 am
    1                                                  Hearing Location: U.S. Bankruptcy Court
                                                                         700 Stewart St #8106
    2                                                                    Seattle,WA 98101
                                                       Response Date: November 29, 2017
    3
                            IN THE UNITED STATES BANKRUPTCY COURT
    4                 FOR THE WESTERN DISTRICT OF WASHINGTON AT SEATTLE

    5    In Re:                                         IN CHAPTER 13 PROCEEDING
         JULIAN FLORES,                                 NO. 11-20512
    6
         30845 10th Ave SW
         Federal Way, WA 98023-4501                     NOTICE OF TRUSTEE'S MOTION TO
    7
                                                        DISMISS CASE AND HEARING
                                        Debtor.
    8

    9     PLEASE TAKE NOTICE that the Trustee's Motion to Dismiss Case IS SET FOR HEARING as
      follow:
   10     Judge: Timothy W. Dore                   Date: December 06, 2017
          Location: U.S. Bankruptcy Court          Time: 9:30 am
   11               700 Stewart St #8106
                    Seattle,WA 98101
   12
            IF YOU OPPOSE this motion, you must file your written response with the Court Clerk NOT
   13
        LATER THAN THE RESPONSE DATE, which is November 29, 2017.
   14
            IF NO RESPONSE IS TIMELY FILED, the Court may, in its discretion, GRANT THE MOTION
   15
        PRIOR TO THE HEARING WITHOUT FURTHER NOTICE, and strike the hearing.
   16

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   20
            Dated: September 18, 2017
   21                                                    /s/K. Michael Fitzgerald
                                                         K. Michael Fitzgerald
                                                         Chapter 13 Trustee
   22
                                                         WSBA# 8115
   23
                                                               Chapter 13 Bankruptcy Trustee
                                                                  600 University St. #2200
                                                                     Seattle,WA 98101
                                                            (206) 624-5124 Fax: (206) 624-5282
CM094   NOTICE OF TRUSTEE'S MOTION TO DISMISS CASE AND HEARING www.seattlech13.com
         Case 11-20512-TWD Doc 93 Filed 09/18/17 Ent. 09/18/17 14:56:58 Pg. 1 of 3
                                                       Judge: Timothy W. Dore
                                                       Chapter: 13
                                                       Hearing Date: December 06, 2017
                                                       Hearing Time: 9:30 am
                                                       Hearing Location:U.S. Bankruptcy Court
    1                                                                   700 Stewart St #8106
                                                                        Seattle,WA 98101
    2                                                  Response Date: November 29, 2017
    3                      IN THE UNITED STATES BANKRUPTCY COURT
                     FOR THE WESTERN DISTRICT OF WASHINGTON AT SEATTLE
    4
        In Re:                                               IN CHAPTER 13 PROCEEDING
    5
        JULIAN FLORES,                                       NO. 11-20512
    6                                                        TRUSTEE'S MOTION
                                         Debtor.             TO DISMISS CASE
    7

    8
            The Trustee moves to dismiss this case pursuant to 11 U.S.C. § 1307(c):
    9

  10       The plan exceeds 60 months and is not yet completed.

            THE TRUSTEE REQUESTS that the Court dismiss this case.
  11

  12

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  19       Dated: September 18, 2017
  20
                                                                  /s/ K. Michael Fitzgerald
                                                                  K. Michael Fitzgerald
  21
                                                                  Chapter 13 Trustee
                                                                  WSBA #8115
  22

  23                                                                        Chapter 13 Bankruptcy Trustee
                                                                               600 University St. #2200
  24                                                                              Seattle,WA 98101
                                                                          (206) 624-5124 Fax:(206) 624-5282
CM093   TRUSTEE'S MOTION TO DISMISS CASE                                         www.seattlech13.com
        Case 11-20512-TWD Doc 93 Filed 09/18/17                Ent. 09/18/17 14:56:58 Pg. 2 of 3
           Dated:
    1

    2

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    5

    6

    7
                             IN THE UNITED STATES BANKRUPTCY COURT
    8                  FOR THE WESTERN DISTRICT OF WASHINGTON AT SEATTLE

    9

   10   In Re:                                                  IN CHAPTER 13 PROCEEDING
                                                                NO. 11-20512
   11   JULIAN FLORES,
                                                                Proposed
   12                                                           ORDER DISMISSING CASE
                                          Debtor.
   13

   14      THIS MATTER having come before the Court on the Chapter 13 Trustee's Motion to Dismiss Case,

   15   and the Court having reviewed and considered the motion, records and files in this case, it is

   16      ORDERED that this case is dismissed.

   17                                               / / /End of Order/ / /

   18

   19

   20
        Presented by:
   21   /s/K. Michael Fitzgerald
        K. Michael Fitzgerald, WSBA# 8115
   22   Chapter 13 Bankruptcy Trustee
        600 University St. #2200
   23   Seattle,WA 98101
        (206) 624-5124


CM095   ORDER DISMISSING CASE

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